Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 1 of 23




         EXHIBIT 1
                                Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 2 of 23


                                                    U.S. PAT. NO. 10,022,623
                               ACCUSED PRODUCT: SNACK BOX V2 (BUTTONS ONLY EDITION)
                     JFCA’S LPR 4.2(a)(1) CHART RESPONSIVE TO HIT BOX’S INFRINGEMENT CLAIM CHART

Claim Limitations                Accused Product (see Hit Box LPR 4.1(b)(3) Claim Charts)   JFCA Response
1. A hand operated game                                                                     JFCA does not dispute that the V2 is a
controller for controlling a                                                                hand operated game controller for
game console, said game                                                                     controlling a game console.
controller comprising:




A. an all-push-button game                                                                  JFCA disputes that the V2 button
controller surface being flat                                                               configuration extends “inwardly to a
and extending horizontally                                                                  middle boundary line.” When properly
between left and right                                                                      construed, the “middle boundary line”

                                                                   1
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 3 of 23

edges and vertically                                                                of the 623 Patent is in the middle. The
between top and bottom                                                              “Middle Boundary Line” shown to the
edges, said left and right                                                          left is in fact to the left of the middle.
edges extending inwardly
to a middle boundary line,                                                          JFCA further disputes that the V2 has
                                                                                    the claimed “surface including a left
                                                                                    hand position extending inwardly from
                                                                                    said left edge to said middle boundary
                                                                                    line and a right hand position extending
                                                                                    inwardly from said right edge to said
                                                                                    middle boundary line.” This portion of
                                                                                    the limitation literally requires that the
                                                                                    left and right edges meet in the middle,
                                                                                    leaving no room for buttons or a
                                                                                    “surface.” And there is no width.

                                                                                    JFCA further disputes that the edge
                                                                                    denominated as the “bottom edge” is in
                                                                                    fact an edge on the bottom of the
                                                                                    controller.

                                                                                    JFCA does not dispute the remaining
                                                                                    portion of this limitation.




                                                            2
                              Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 4 of 23

B. said game controller                                                              JFCA disputes that the “middle
surface including a left                                                             boundary” limitation is met. See above.
hand position extending
inwardly from said left                                                              JFCA disputes that the evidence
edge to said middle                                                                  presented shows that V2 has “said left
boundary line and a right                                                            hand position including four movement
hand position extending                                                              push buttons and said right hand
inwardly from said right                                                             position including eight function
edge to said middle                                                                  buttons.” The evidence presented to the
boundary line, said left                                                             left does not support such allegations.
hand position including                                                              The function of each V2 button is in
four movement push                                                                   fact determined by the specific game
buttons and said right hand                                                          that is loaded on the game console to
position including eight                                                             which the controller is connected. For
function buttons, each of                                                            example, the pressing of an alleged
said buttons having a                                                                “movement button” may not result in
generally circular shape;                                                            movement. There is no evidence of a
                                                                                     V2 being connected to a game console
                                                                                     where the game console performs the
                                                                                     “movements” alleged in the figure to
                                                                                     the left.

                                                                                     JFCA further disputes that the V2 has
                                                                                     the claimed “surface including a left
                                                                                     hand position extending inwardly from
                                                                                     said left edge to said middle boundary
                                                                                     line and a right hand position extending
                                                                                     inwardly from said right edge to said
                                                                                     middle boundary line.” This portion of
                                                                                     the limitation literally requires that the
                                                                                     left and right edges meet in the middle,
                                                                                     leaving no room for buttons or a
                                                                                     “surface.” There is no width.

                                                                                     JFCA further disputes that the edge
                                                                                     denominated as the “bottom edge” is in
                                                                                     fact an edge on the bottom of the
                                                                                     controller.
                                                             3
                                Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 5 of 23


                                                                                       JFCA does not dispute the remaining
                                                                                       portion of this limitation.

1) said four movement                                                                  JFCA disputes that the V2 has “said
push buttons including a                                                               four movement push buttons including
left movement button                                                                   a left movement button disposed
disposed closest to said left                                                          closest to said left edge, a down
edge, a down movement                                                                  movement button disposed between
button disposed between                                                                said left movement button and said
said left movement button                                                              middle boundary line and being the
and said middle boundary                                                               same distance to said top edge as said
line and being the same                                                                left movement button, a right
distance to said top edge as                                                           movement button disposed between
said left movement button,                                                             said down movement button and said
a right movement button                                                                middle boundary line and being closer
disposed between said                                                                  to said bottom edge than said left and
down movement button                                                                   down movement buttons, and an up
and said middle boundary                                                               movement button at least partially
line and being closer to                                                               disposed on said middle boundary line
said bottom edge than said                                                             and being closer to said bottom edge
left and down movement                                                                 than said right movement button.”
buttons, and an up
movement button at least                                                               JFCA disputes that the “middle
partially disposed on said                                                             boundary” limitation is met. See above.
middle boundary line and
being closer to said bottom                                                            JFCA disputes that V2 has the alleged
edge than said right                                                                   “movement buttons” located between
movement button, wherein                                                               the left edge and “Middle Boundary”
said left, right, and down                                                             because the left and right edges meet at
movement buttons form an                                                               the “Middle Boundary” according to
arc-shape layout and said                                                              the claim language.
up movement button forms
an elliptical- shape layout                                                            JFCA also disputes that the evidence
with said arc-shape layout;                                                            presented shows that the V2 has four
                                                                                       movement push buttons. The evidence
                                                                                       presented to the left does not support

                                                               4
Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 6 of 23

                                                       such allegations. The function of each
                                                       V2 button is in fact determined by the
                                                       specific game that is loaded on the
                                                       game console to which the controller is
                                                       connected. For example, the pressing of
                                                       an alleged “movement button” may not
                                                       result in movement. There is no
                                                       evidence of a V2 being connected to a
                                                       game console where the game console
                                                       performs the “movements” alleged in
                                                       the figure to the left.

                                                       JFCA further disputes that the edge
                                                       denominated as the “bottom edge” is in
                                                       fact an edge on the bottom of the
                                                       controller.

                                                       JFCA does not dispute any remaining
                                                       portions of this limitation.




                               5
                              Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 7 of 23

2) said eight function                                                               JFCA disputes that the V2 has “said
buttons including a top row                                                          eight function buttons including a top
of four function buttons                                                             row of four function buttons and a
and a bottom row of four                                                             bottom row of four function buttons
function buttons wherein                                                             wherein each of said rows of function
each of said rows of                                                                 buttons includes a first function button
function buttons includes a                                                          and a second function button spaced by
first function button and a                                                          a pair of middle function buttons,
second function button                                                               wherein said middle function buttons
spaced by a pair of middle                                                           are disposed closer to said
function buttons, wherein                                                            top edge than said first and second
said middle function                                                                 function buttons.”
buttons are disposed closer
to said top edge than said                                                           JFCA disputes that the “middle
first and second function                                                            boundary” limitation is met. See above.
buttons, and wherein said
first row of function                                                                JFCA disputes that V2 has the alleged
buttons are disposed                                                                 “function buttons” located between the
vertically and linearly                                                              right edge and “Middle Boundary”
adjacent to said second row                                                          because the left and right edges meet at
of function buttons;                                                                 the “Middle Boundary” according to
                                                                                     the claim language.

                                                                                     JFCA also disputes that the evidence
                                                                                     presented shows that V2 has eight
                                                                                     function buttons. The evidence
                                                                                     presented to the right does not support
                                                                                     such allegations. The function of each
                                                                                     button is in fact determined by the
                                                                                     specific game that is loaded on the
                                                                                     game console to which the controller is
                                                                                     attached. There is no evidence of a V2
                                                                                     being connected to a game console
                                                                                     where the game console performs
                                                                                     “functions” with the pressing of each of
                                                                                     the eight buttons shown to the left.


                                                             6
                              Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 8 of 23

                                                                                     JFCA further disputes that the edge
                                                                                     denominated as the “bottom edge” is in
                                                                                     fact an edge on the bottom of the
                                                                                     controller.

                                                                                     JFCA does not dispute any remaining
                                                                                     portions of this limitation.

3) said up movement                                                                  For the above reasons, which are
button is positioned below                                                           incorporated herein by reference, JFCA
said first function buttons                                                          disputes that the evidence presented
and said right movement                                                              shows that the V2 has the alleged
button, said first function                                                          movement and function buttons, much
buttons and said right                                                               less such buttons orienteds around a
movement buttons being                                                               “middle boundary line.”
adjacent to said middle
boundary line so that said                                                           JFCA further disputes that the edge
up movement button can                                                               denominated as the “bottom edge” is in
be activated with a user's                                                           fact an edge on the bottom of the
left-hand thumb or the                                                               controller.
user's right-hand thumb
with the left hand                                                                   JFCA does not dispute any remaining
positioned directly over                                                             portions of this limitation.
said movement buttons and
the right hand positioned
directly over said function
buttons as described in
limitations B.1) and B.2)
above; and




                                                             7
                               Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 9 of 23

C. a connection means                                                                 JFCA disputes that the evidence
between said push buttons                                                             presented shows that the V2 has the
and said game console,                                                                claimed “connection means.” Hit Box’s
wherein control signals are                                                           use of the word “means” presumtively
sent from said plurality of                                                           makes this limitation a means-plus-
buttons to said game                                                                  function term limited to the structure
console via said wireless or                                                          disclosed in the specification of the 623
wired connection means as                                                             Patent. The evidence to the left fails to
said plurality of buttons is                                                          provide the required comparison
pushed by the user.                                                                   between the alleged connection means
                                                                                      of the V2 and the structure of the
                                                                                      function means disclosed in the 623
                                                                                      Patent.

                                                                                      JFCA further notes that the alleged
                                                                                      evidence is optional. It also fails to
                                                                                      account for the fact that the V2 does
                                                                                      not send control signals in all situations
                                                                                      where buttons are pressed, such as
                                                                                      when certain buttons are pressed at the
                                                                                      same time.

                                                                                      JFCA does not dispute any remaining
                                                                                      portions of this limitation.




                                                              8
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 10 of 23

2. The hand operated                                                                JFCA refers to and incorprates by
controller as in claim 1                                                            reference its above responses including
wherein said connection                                                             but not limited to its response regarding
means is a wire connection                                                          the alleged “connection means.”
means.
                                                                                    JFCA does not dispute any remaining
                                                                                    portions of this claim.




                                                             9
                            Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 11 of 23

3. The hand operated                                                               JFCA refers to and incorprates by
controller as in claim 1,                                                          reference its above responses including
wherein said connection                                                            but not limited to its response regarding
means is USB cable.                                                                the alleged “connection means.”

                                                                                   JFCA does not dispute any remaining
                                                                                   portions of this claim.




                                                           10
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 12 of 23

5. The hand operated                                                                JFCA refers to and incorprates by
controller as in claim 1                                                            reference its above responses including
further comprising a game                                                           but not limited to its response regarding
controller printed circuit                                                          the alleged “connection means.”
board connected between
said plurality of push                                                              JFCA does not dispute any remaining
buttons and said wireless                                                           portions of this claim.
or wired communication
means.




                                                            11
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 13 of 23

6. The hand operated                                                                JFCA refers to and incorprates by
controller as recited in                                                            reference its above responses.
claim 1 wherein said hand
operated controller is box                                                          JFCA disputes that the evidence to the
shaped.                                                                             left shows that V2 has a “box” shape.
                                                                                    V2 has rounded edges while boxes do
                                                                                    not.

                                                                                    To the extent the refrenced “box
                                                                                    shape[]” refers to the left and right
                                                                                    edges meeting at the “middle
                                                                                    boundary,” V2 is not box shaped for
                                                                                    this reason as well.

                                                                                    JFCA does not dispute any remaining
                                                                                    portions of this claim.




                                                            12
                               Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 14 of 23

7. The hand operated                                                                  JFCA refers to and incorprates by
controller as recited in                                                              reference its above responses.
claim 1 wherein said
buttons are circular shaped.                                                          JFCA does not dispute any remaining
                                                                                      portions of this claim.




                                                              13
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 15 of 23

8. The hand operated                                                                JFCA refers to and incorprates by
controller as recited in                                                            reference its above responses.
claim 1 wherein said
movement buttons are                                                                JFCA does not dispute any remaining
spaced from said left edge                                                          portions of this claim.
at least an expanse of a
distance between said left
movement button and said
right movement button to
define a flat surface for
resting of a user's palm.




                                                            14
                                Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 16 of 23

9. The hand operated                                                                   JFCA refers to and incorprates by
controller as recited in                                                               reference its above responses.
claim 7 wherein said up
button is the largest button.                                                          JFCA does not dispute any remaining
                                                                                       portions of this claim.




                                                               15
                               Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 17 of 23

10. A hand operated game                                                              See above responses to claim 1, which
controller for controlling a                                                          JFCA hereby incorporates by reference.
game console, said game
controller comprising:                                                                JFCA does not dispute any remaining
                                                                                      portions of this claim.




                                                              16
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 18 of 23

an all-push-button game                                                             See above responses to claim 1, which
controller surface                                                                  JFCA hereby incorporates by reference.
extending horizontally
between left and right                                                              JFCA does not dispute any remaining
edges and vertically                                                                portions of this claim.
between top and bottom
edges, said left and right
edges extending inwardly
to a middle boundary line,
said controller surface
consisting of:




                                                            17
                               Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 19 of 23

Four movement push                                                                    See above responses to claim 1, which
buttons including a left                                                              JFCA hereby incorporates by reference.
movement button disposed
closest to said left edge, a                                                          JFCA does not dispute any remaining
down movement button                                                                  portions of this claim.
disposed between said left
movement button and said
middle boundary line and
being the same distance to
said top edge as said left
movement button, a right
movement button disposed
between said down button
and said middle boundary
line and being closer to
said bottom edge than said
left and down movement
buttons, and an up
movement button at least
partially disposed on said
middle boundary line and
being closer to said bottom
edge than said right
movement button, wherein
said left, right, and down
movement buttons form an
arc-shape layout and said
up button forms and
elliptical-shape layout with
said arc- shape layout;




                                                              18
                              Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 20 of 23

eight function buttons                                                               See above responses to claim 1, which
including a top row of four                                                          JFCA hereby incorporates by reference.
function buttons and a
bottom row of four                                                                   JFCA does not dispute any remaining
function buttons wherein                                                             portions of this claim.
each of said rows of
function buttons includes a
first function button and a
second function button
spaced by a pair of middle
function buttons, wherein
said middle function
buttons are disposed closer
to said top edge than said
first and second function
buttons and said first row
of function buttons is
disposed between said
second row of function
buttons from said top edge.




                                                             19
                             Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 21 of 23

12. The hand operated                                                               See above responses to claims 1 and
controller as recited in                                                            10, which JFCA hereby incorporates by
claim 10 including a PCB                                                            reference.
configured to operate with
the game console.                                                                   JFCA does not dispute any remaining
                                                                                    portions of this claim.




                                                            20
                               Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 22 of 23

14. The hand operated                                                                 See above responses to claims 1 and
controller as recited in                                                              10, which JFCA hereby incorporates by
claim 10 wherein said                                                                 reference.
edges extend from said
controller surface to a back                                                          JFCA disputes that “said edges extend
surface and said top edge                                                             from said controller surface to a back
defines a top edge surface                                                            surface and said top edge defines a top
having at least one button                                                            edge surface having at least one button
associated with controlling                                                           associated with controlling an in game
an in game menu.                                                                      menu.” Hit Box’s references to edges
                                                                                      and surfaces is nonsensical and in
                                                                                      conflict with earlier uses of the terms.

                                                                                      JFCA does not dispute any remaining
                                                                                      portions of this claim.




                                                              21
                              Case 2:21-cv-00262-RWS Document 54-1 Filed 07/20/22 Page 23 of 23

15. The hand operated                                                                See above response, which JFCA
controller as recited in                                                             hereby incorporates by reference.
claim 14 wherein said
connection means is a cable                                                          JFCA also disputes that the V2 has a
extending from said top                                                              connection means on the top edge
edge surface.                                                                        surface.

                                                                                     JFCA does not dispute any remaining
                                                                                     portions of this claim.




                                                             22
